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 Attorneys for Jeremiah Foster
 Chapter 11 Liquidating Trustee


                   UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MONTANA

  In re
                                          Case No. 15-60979-11
  SHOOT THE MOON, LLC,

                      Debtor.



             NOTICE OF AMENDMENT TO LIQUIDATING TRUST


          COMES NOW Chapter 11 Liquidating Trustee, Jeremiah Foster, by and

 through his counsel of record, and hereby files with the Court the Amended

 Liquidating Trust, attached hereto as Exhibit A, and the Proposed Amendment Voter
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 Schedule, attached hereto as Exhibit B.

       DATED this 9th day of November, 2018.

                                DATSOPOULOS, MacDONALD & LIND, P.C.


                                By:   /s/ Trent N. Baker
                                      Trent N. Baker
                                Attorneys for Jeremiah Foster,
                                Trustee of the Shoot the Moon Liquidating Trust,
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                         CERTIFICATE OF SERVICE

 The undersigned does hereby certify that on the 9th day of November, 2018 a copy
 of the foregoing Notice of Amendment to Liquidating Trust was served
 electronically by the Court’s ECF notice to parties requesting special notice or
 otherwise entitled to the same and that in addition service by mailing a true and
 correct copy via First Class Mail, postage prepaid, at Missoula, Montana, to the
 following persons or entities who are not ECF registered users: N/A




                                               /s/ Trent N. Baker
